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 9                             UNITED STATES DISTRICT COURT
10                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
11

12   MIGUEL ESPARZA, individually and on        Case No. 2:23-cv-08223-KK-AGR
     behalf of all others similarly situated,
13
                  Plaintiff,
14                                              JOINT CASE MANAGEMENT
                  v.                            STATEMENT
15
     GEN DIGITAL INC., a Delaware
16   corporation d/b/a NORTON.COM,
17                Defendant.                    Complaint filed: May 2, 2023
                                                Removed: September 29, 2023
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                                 JOINT CASE MANGEMENT STATEMENT
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 1         TO THE COURT AND CLERK, Please take notice that Plaintiff Miguel
 2   Esparza (“Plaintiff”) and Defendant Gen Digital Inc. dba Norton.com (“Defendant”)
 3   (collectively, the “Parties”) hereby submit this joint case management report. The
 4   Parties do not request telephonic scheduling conference hearing.
 5

 6   a.    The date the case was filed:
 7         May 2, 2023; removed on September 29, 2023.
 8

 9   b.    A list identifying or describing each party:
10         Plaintiff is Miguel Esparza.      Defendant is Gen Digital, Inc., a Delaware
11   corporation that owns and controls the website at issue, Norton.com (the “Website”).
12

13   c.    A brief summary of all claims, counter-claims, cross-claims, or third-party
14         claims:
15         Plaintiff’s First Amended Complaint asserts two causes of action arising under
16   sections 631(a) and 632.7 of the California Invasion of Privacy Act, Cal. Penal Code §
17   630 et seq. (“CIPA”), based on Defendant’s alleged use of a third-party to record and
18   monitor consumers’ interactions with the chat feature made available on Defendant’s
19   Website.
20

21   d.    A brief description of the events underlying the action:
22         Plaintiff alleges that on or about September 22, 2022, he engaged with the chat
23   feature on Defendant’s Website. Plaintiff alleges that Defendant embedded a code on
24   its website, through which it aided and abetted a Third Party Spyware company in
25   wiretapping Plaintiff’s chat conversation, in violation of California Penal Code §
26   631(a), and 632.7. Plaintiff also seeks to represent a classof similarly situated
27   consumers whose chats were similarly recorded. Defendant denies the allegations of
28   Plaintiff’s First Amended Complaint.

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                                JOINT CASE MANAGEMENT STATEMENT
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2    e.    A description of the relief sought and the damages claimed with an explanation
3          of how damages have been (or will be) computed:
4          Plaintiff seeks to recover the $5,000 minimum statutory damages pursuant to
5    section 637.2 of CIPA on behalf of all California consumers whose chats were illegally
6    recorded in the manner alleged in the complaint.            Though discovery has not
7    commenced, and Plaintiff does not yet have data confirming the proposed class size,
8    Plaintiff estimates the class to be in the thousands of members based on Defendant’s
9    business. Plaintiff therefore estimates the proposed class-wide statutory damages to
10   exceed $5,000,000 ($5,000 * 1000 class members). Plaintiff also seeks an injunctive
11   relief order on behalf of the proposed class.
12

13   f.    The status of discovery, including any significant discovery management issues,
14         as well the applicable cut-off dates:
15         The pleadings are not yet at issue with Defendant’s Motion to Dismiss [Dkt. No.
16   11] set to be heard on January 8, 2024. The motion is not yet fully briefed, with
17   Defendant’s reply in support of its motion due on December 22, 2023. Thus, discovery
18   has not yet commenced. The Court has not yet set a scheduling order.
19

20   g.    A procedural history of the case, including any previous motions that were
21         decided or submitted, any ADR proceedings or settlement conference that have
22         been scheduled or concluded, and any appellate proceedings that are pending or
23         concluded:
24         Plaintiff filed the action in the Superior Court of California for the County of Los
25   Angeles on May 2, 2023. Defendant removed the action on September 29, 2023. The
26   pleadings are not yet at issue, as Defendant has filed a Motion to Dismiss [Dkt. No. 11]
27   which has not yet been fully briefed. The Motion was originally scheduled to be heard
28   on January 8, 2024, but was vacated by the Court’s Reassignment Order [Dkt. No. 13].

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1    No ADR proceedings or settlement conference have occurred, and similarly there are
2    no appellate proceedings are pending or concluded.
3

4    h.    A description of any other deadlines in place:
5          Other than Defendant’s December 22, 2023 Motion to Dismiss reply brief
6    deadline, there are no other deadlines in place.
7

8    i.    Whether the parties will consent to a magistrate judge for trial:
9          The Parties do not consent to proceed before a magistrate.
10

11   j.    A statement from each parties’ counsel indicating they have (1) discussed the
12         magistrate judge consent program with their respective client(s), and (2) met and
13         conferred to discuss the consent program and selection of a magistrate judge:
14         The Parties’ counsel have each (1) discussed the magistrate judge consent
15   program with their respective client(s), and (2) met and conferred to discuss the consent
16   program and selection of a magistrate judge.
17

18   k.    Whether there exists an immediate need for a case management conference to be
19         scheduled in the action and, if so, why the parties believe such a need exists:
20         The Parties do not believe there exists an immediate need for a case management
21   conference to be scheduled in this action.
22
     Dated: December 5, 2023                PACIFIC TRIAL ATTORNEYS, APC
23

24                                          By: /s/ Scott J. Ferrell
25                                          Scott. J. Ferrell
                                            Attorneys for Plaintiff
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1    Dated: December 5, 2023                  BUCHALTER, APC
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3                                             By: /s/Artin Betpera
                                              Artin Betpera
4                                             Attorneys for Defendant
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6                                SIGNATURE CERTIFICATION

7
             Pursuant to Local Rule 5-4.3.4(a)(2)(i), I, E. Scott J. Ferrell, hereby attests that

8
     all other signatories listed, and on whose behalf the filing is submitted, concur in the

9
     filing’s content and have authorized the filing.

10
                                              /s/ Scott J. Ferrell
11                                            Scott J. Ferrell

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                                 JOINT CASE MANGEMENT STATEMENT
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1                               CERTIFICATE OF SERVICE
2          I hereby certify that on March 8, 2023, I electronically filed the foregoing JOINT
3    CASE MANAGEMENT STATEMENT with the Clerk of the Court using the
4    CM/ECF system which will send notification of such filing via electronic mail to all
5    counsel of record.
6

7    Dated: December 5, 2023
8
                                                     /s/ Scott J. Ferrell
9                                                         Scott J. Ferrell
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                                        PROOF OF SERVICE
